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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                CHARLOTTESVILLE DIVISION

  BABY DOE, et al.,                              )
       Plaintiffs                                )
                                                 )
  v.                                             )       Civil Action No. 3:22-cv-00049
                                                 )
  JOSHUA MAST, et al.,                           )
       Defendants.                               )

            CALEB MAST’S MEMORANDUM IN REPLY TO PLAINTIFFS’
         OPPOSTION [sic] TO CALEB MAST’S MOTION TO QUASH SUBPOENA

         NOW COMES Caleb Mast (C. Mast), by counsel, in reply to Plaintiffs’ Oppostion [sic]

  to Caleb Mast’s Motion to Quash Subpoena (ECF 200) (hereinafter, “Plaintiffs’ Opposition” or

  “Opposition”).

         Plaintiffs have offered no basis sufficient for the Court to require Liberty University to

  produce the email of Caleb Mast subpoenaed from Liberty University (LU or Liberty).1 For the

  reasons set forth herein, and set forth in his Motion to Quash Subpoena (ECF 196) and

  Memorandum in Support of Motion to Quash (ECF 197) (hereinafter, “Memorandum”), the

  subpoena to Liberty should be quashed as to Caleb Mast, and LU should be ordered not to

  produce the email at issue in the Motion to Quash.

  I.     THE EMAIL AT ISSUE HAS NOT BEEN PRODUCED IN THE STATE COURT
         PROCEEDING.

         1.        Plaintiffs erroneously state that the email at issue in the Motion to Quash has

  already been produced by LU in the state court proceeding. Plaintiffs’ Opposition at 2.




  1
   ECF 200-1 is filed under seal and not available to C. Mast for review. Therefore, to whatever
  extent it may bear on the Motion to Quash, C. Mast and his counsel are unable to respond to it.
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        a.     Plaintiffs mistake and confuse LU’s email (Exhibit 1 to Plaintiffs’ Opposition,

        ECF 200-2) explaining the production made on April 6, 2023.

        b.     On April 6, 2023, LU produced, in response to Plaintiffs’ subpoena in this action,

        the same documents it produced in response to a subpoena served on it in the state court

        proceeding. Ex. 1 at 1 (“We have just uploaded … 90 communications/documents that

        Liberty previously produced in the related state case (CL22000186‐00)”).

        c.     From that production LU withheld “one email with Caleb Mast which may be

        subject to the Motion to Quash filed by … Caleb Mast.” Id. (emphasis added).

        d.     Plaintiffs erroneously assume that the “one email with Caleb Mast” produced by

        LU in the state court proceeding, but which Liberty withheld here, is the same email at

        issue in the Motion to Quash. Id.

        e.     Counsel for C. Mast has reviewed the email that LU withheld from its April 6,

        2023, production: it is not the email that is the subject of the Motion to Quash, nor does

        C. Mast object to production of that email.

        f.     Further, Plaintiffs’ assertion that “Mast also would have learned that Plaintiffs

        would have no objection to Liberty University redacting the Pastor’s name, provided

        there are no other redactions,” is of no consequence as it concerns correspondence

        unrelated to the Motion to the Motion to Quash. Opposition at 2. (As an aside, Plaintiffs

        lack knowledge of whether or to what extent C. Mast has communicated with Liberty

        about this matter: see Opposition at 2.)
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  II.    THE EXISTING PROTECTIVE ORDER IN THIS ACTION PROVIDES NO
         PROTECTION IN THIS INSTANCE.

         2.      As C. Mast is only tangentially involved in this action, i.e., a person whose

  communications are within the possession of a subpoenaed third-party, he was not aware of the

  existence of a Protective Order in this action.

         a.      However, having reviewed the only entered Protective Order (ECF 26) showing

         on this Court’s docket sheet for this action, it does not appear that the Protective Order

         would provide any protection for the communication at issue in the Motion to Quash: the

         Protective Order “govern[s] disclosure of the Plaintiffs’ identities and identifying

         information.” Protective Order (ECF 26), at 1.

         b.      While there have been motions for entry of other protective orders, the only

         Protective Order that appears to have been entered is ECF 26. See generally Docket Sheet

         of the Clerk of this Court for Civil Action No. 3:22-cv-00049.

         c.      Therefore, the existing Protective Order is of no benefit or protection to C. Mast

         and/or the pastor whose identity is revealed in the email at issue: production of the email

         by LU, therefore, would necessarily submit the email to the risk of “unfettered

         ‘disclosure’ to the world.” Opposition at 2.

         d.      Moreover, given the nature of this suit, the vitriol of Plaintiffs, and that Plaintiffs

         John and Jane Doe assert that they are the “biological family” of Baby Doe (Complaint at

         ¶ 1), “an Afghan war orphan” (Id.) “of a martyred Muslim family” (Memorandum at 3),

         C. Mast has no basis upon which to trust “that Plaintiffs would treat the email as

         ‘CONFIDENTIAL’ per the [inapplicable] protective order.” Opposition at 2.
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  III.   THE EFFORT NECESSARY TO PROCURE THE INVOLVEMENT OF THE
         PASTOR WHOSE IDENTITY IS AT RISK OF DISCLOSURE OUTWEIGHS THE
         BENEFIT OF HIS DIRECT INVOLVEMENT IN THESE CIRCUMSTANCES.

         3.      Next Plaintiffs argue that the pastor at issue should “speak on his own behalf.”

  Opposition at 3.

                 a. Plaintiffs fail to appreciate that obtaining an affidavit or other involvement

                     from the pastor would require C. Mast, who already lacks a close nexus to this

                     action, to track down a person even more distantly related to this action, and

                     whose involvement would be only of potential harm to him.

                 b. The effort necessary to procure the pastor’s involvement outweighs the benefit

                     and would “impos[e] undue burden or expense” on C. Mast. Rule 45(d)(1) of

                     the Federal Rules of Civil Procedure.



  IV.    THE EMAIL AT ISSUE IS IRRELEVANT TO ANY CLAIM OR DEFENSE IN
         THIS ACTION.

         4.      Plaintiffs reference C. Mast’s relevancy argument only in footnote 1 of their

  Opposition without stating whether they agree or disagree with the lack of relevance, and citing

  no authority to support a position either way. Opposition at 3.

         a.      For that reason alone, C. Mast’s relevancy basis is sufficient to grant the Motion

         to Quash.

         b.      The email is irrelevant to any claims or defenses asserted by any Party to the

         litigation as the Memorandum explained: an email seeking an interpreter has no bearing

         on any claim or defense.
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  V.     THE FIRST AMENDMENT AND RFRA FAVOR GRANTING THE MOTION TO
         QUASH.

         5.      Plaintiffs assert, with no authority, that “neither the First Amendment nor the

  Religious Freedom Restoration Act (the “RFRA”) has any application here.” Opposition at 3. C.

  Mast, on the other hand, submitted a memorandum containing authority to support his position

  that the First Amendment to the Constitution of the United States and the Religious Freedom

  Restoration Act support granting the Motion to Quash. Absent authority to support Plaintiffs’

  assertion to the contrary it ought to be disregarded.



  VI.    C. MAST’S STATEMENT ABOUT BABY DOE BEING AFGHAN IS OF NO
         CONSEQUENCE, AND IS READ OUT OF CONTEXT.

         6.      Contrary to Plaintiffs’ assertion in footnote 2 of their Opposition, C. Mast has not

  admitted, “that Baby Doe is Afghan and not a ‘stateless minor.’” (Opposition at 3), nor is Baby

  Doe’s status within his knowledge.

         a.      Plaintiffs cite to no portion of C. Mast’s Memorandum to substantiate this

         assertion.

         b.      The Memorandum refers, at page 3, to Baby Doe as “an Afghan child born to a

         family of the Muslim faith,” in the context of the risk to the pastor whose identity is

         disclosed in the email at issue: the statement only characterized how Muslim extremists

         would perceive the pastor’s role thereby placing the pastor at risk of harm. Id.



         WHEREFORE, Caleb Mast moves this Court to grant his Motion to Quash Subpoena as

  to the email at issue in the Motion to Quash.
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                                                      Respectfully submitted,
                                                      CALEB MAST

                                                      /s/ Melvin E. Williams
                                                      Of Counsel

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                                   CERTIFICATE OF SERVICE

            On this 18th day of April 2023, the foregoing Caleb Mast’s Memorandum in Reply to

  Plaintiffs’ Oppostion [sic] to Caleb Mast’s Motion to Quash Subpoena was filed with the Clerk

  of Court using the CM/ECF system, which will send a notification of such filing to counsel of

  record.

                                                      /s/ Melvin E. Williams
                                                      Of Counsel
